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                IN THE UNITED STATES BANKRUPTCY COURT
                     WESTERN DISTRICT OF ARKANSAS
                         FAYETTEVILLE DIVISION

 In Re:

 LaDONNA HUMPHREY                                       Case No. 5:19-bk-72555
 Debtor                                                 Ch. 7

            ORDER GRANTING MOTION FOR APPROVAL OF SALE

       On December 4, 2019, Bianca Rucker, the duly-appointed Trustee for the above-
captions case (Trustee”), by and through her counsel, filed a Motion for approval of Sale
Pursuant to 11 U.S.C. § 363 and Notice of Opportunity to Object and Overbid
(“Motion”)(Dkt. No. 46).

      The Motion sought authority to sell to Absolute Pediatric Services, Inc. d/b/a
Absolute Pediatric Services (“Absolute”) for a lump sum payment of $12,500.00:

   1. Any and all claims including appeals arising out of or related to the state court
      lawsuit, Absolute Pediatric Services, Inc. d/b/a Absolute Pediatric Therapy and
      Anthony Christopher v. LaDonna Humphrey, Individually, pending in the
      Circuit Court of Benton County, Arkansas, Case No: 04CV-18-2961; and
   2. Any and all claims including claims asserted or unasserted for slander, false
      light, and/or related claims against Kenneth Medlin, Anthony Christopher, Joe
      Rocko, Wanda Easch, Felicia Ramos, Linnea Heintz, Heather Johnson, and
      others as the situation evolves,

(“Proposed Offer”). The Proposed Offer does not include the sale of any avoidance,
transfer, or preference actions and such causes of action are not a part of this proposed
sale. The Proposed Offer does not include the alleged malpractice action listed on the
Amended Schedules at Dkt. No. 30, Question No. 34. The Motion stated that $0 in
exemptions had been claimed in the lawsuit and that no exemption would be paid.

       A Response to Motion for Approval of Sale Pursuant to 11 U.S.C. § 363 and
Notice of Opportunity to Object and Overbid was filed by the Debtor on January 25,
2019 (“Response”) and a hearing was held on February 12, 2020.

       At the hearing, Stanley V. Bond, Bond Law Office, appeared for the Debtor;
Bianca Rucker, Rucker Law PLLC, appeared for the Trustee; and Glenn Ritter, Wright,
Lindsey & Jennings, LLP appeared for the proposed buyer, Absolute. The Court
received testimony and other evidence into the record. For the reasons stated at the
conclusion of the February 12 hearing, which findings of facts and conclusions of law are
incorporated herein pursuant to Federal Rule of Bankruptcy Procedure 7052, the Court
granted the Motion.

      Based on a review of the Motion and Notice, the Response and Notice, the
hearing, and the Court’s docket, the Motion is GRANTED in full, the Proposed Sale to
Absolute Pediatric Services for $12,500.00 is APPROVED and payment shall be made
                                            1


             EOD: February 14, 2020
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with fourteen (14) days of the entry of this Order to the Trustee for the benefit of the
bankruptcy estate and from which no exemptions shall be paid.

       IT IS SO ORDERED.


                                                 HONORABLE BEN T. BARRY
                                                 U.S. BANKRUPTCY JUDGE
                                                     02/14/2020



PROPOSED ORDER PREPARED BY:

/s/ Bianca Rucker__________
Bianca Rucker
Rucker Law PLLC
Counsel for Bianca Rucker, Trustee




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                                                        Notice Recipients
District/Off: 0861−5                         User: tanya                              Date Created: 2/14/2020
Case: 5:19−bk−72555                          Form ID: pdf08Ac                         Total: 37


Recipients of Notice of Electronic Filing:
ust         U.S. Trustee (ust)        USTPRegion13.LR.ECF@usdoj.gov
tr          Bianca Rucker          ruckerlaw@outlook.com
aty         Bianca Rucker          ruckerlaw@outlook.com
aty         Charles T. Coleman           ccoleman@wlj.com
aty         Emily J. Henson          emily.henson@me.com
aty         Glenn Scott Ritter         gritter@wlj.com
aty         Stanley V Bond          attybond@me.com
aty         William Eric Berger          eberger@wlj.com
                                                                                                                          TOTAL: 8

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          LaDonna Humphrey            11580 Farrar Rd         Bentonville, AR 72712
sp          Thomas D Stockland           Stockland & Trantham          157 E. Colt Drive          Suite 1       Fayetteville, AR 72703
5052795     ADF&A          Legal Counsel Room 2380             PO Box 3493           Little Rock, AR 72203−3493
5052794     Absolute Pediatric Services         Wright Lindsey & Jennings           3333 Pinnacle Hills Pkwy         Ste
            510       Rogers, AR 72758
5083324     Absolute Pediatric Services, Inc. and Christopher         Wright, Lindsey & Jennings LLP            3333 Pinnacle Hills
            Pkwy, Ste 510         Rogers, AR 72758
5052796     Anthony Christopher          c/o Wright Lindsey Jennings          3333 Pinnacle Hills Pkwy          Ste 510        Rogers,
            AR 72758
5052797     Bank of America          4909 Savarese Circle        Fl1−908−01−50             Tampa, FL 33634
5052798     Capital One        Attn: Bankruptcy          Po Box 30285          Salt Lake City, UT 84130
5065486     Capital One Bank (USA), N.A.            4515 N Santa Fe Ave          Oklahoma City, OK 73118
5052799     Collection Service, Inc.       Attn: Bankruptcy         Po Box 7545           Little Rock, AR 72217
5060113     Denny Humphrey            11580 Farrar Rd         Bentonville, AR 72712
5052800     Employment Security Division            Legal Division        PO Box 2981           Little Rock, AR 72203
5052801     IRS        PO Box 7346           Philadelphia, PA 19101−7346
5060114     Ken Bertley DDS          5417 W Pinnacle Point, Ste 200           Rogers, AR 72756
5052802     Med Data Systems           Attn: Bankruptcy Dept         2001 9th Ave Ste 312           Vero Beach, FL 32960
5052803     Miramed Revenue Group             Attn: Bankruptcy        360 East 22nd Street           Lombard, IL 60148
5060115     National Recoveries         2020 S. Oneida Street Suite 20         Denver, CO 80224−2444
5060116     National Recoveries Inc.         PO Box 120666          Saint Paul, MN 55112
5060117     Northwest Arkansas Pathology            390 E Longview Street          Fayetteville, AR 72703−4618
5053336     PRA Receivables Management, LLC               PO Box 41021          Norfolk, VA 23541
5076698     PROBESSIONAL CREDIT MANAGEMENT                         PO BOX 4037             JONESBORO AR
            72403        JONESBORO, AR 72403
5060118     PayPal        2211 N First St         San Jose, CA 95131
5052804     Pennymac Loan Services            Correspondence Unit/Bankruptcy            Po Box 514387          Los Angeles, CA
            90051
5052805     Professional Credit Management, Inc.           Po Box 4037         500 West Washington Ave            Jonesboro, AR
            72403
5060119     Stockland & Trantham           PO Box 1723          Fayetteville, AR 72702−1723
5052806     U.S. Department of Education           Ecmc/Bankruptcy           Po Box 16408          Saint Paul, MN 55116
5052807     US Attorney Eastern District         PO Box 1229          Little Rock, AR 72203
5052808     US Attorney Western District          414 Parker Ave.         Fort Smith, AR 72901−1902
5052809     World's Foremost Bank           Attn: Bankruptcy        4800 Nw 1st St           Lincoln, NE 68521
                                                                                                                         TOTAL: 29
